        EXHIBIT 2
June 9, 2021 Inspection Report
                                          United States Department of Agriculture                        CDIGESUALDO
                                         Animal and Plant Health Inspection Service             2016090000625463 Insp_id

                                                   Inspection Report

JEFFREY LOWE                                                                     Customer ID: 332646
21619 Jimbo Road                                                                    Certificate: 73-C-0230
THACKERVILLE, OK 73459
                                                                                          Site: 002
                                                                                               Jeffrey Lowe- 002



                                                                                         Type: ROUTINE INSPECTION
                                                                                         Date: 02-JUN-2021

2.40(a)(2)                                    Repeat
Attending veterinarian and adequate veterinary care (dealers and exhibitors).
The facility representatives do not have an attending veterinarian (AV) employed under formal arrangements. As such,

the written program of veterinary care (PVC) from the previous veterinarian is not valid. Failure to employ an AV and

subsequent lack of a program of veterinary care, leaves the facility without direction to provide adequate veterinary care

to the animals and does not ensure regularly scheduled visits to the premises. The facility representative must employ an

attending veterinarian under formal arrangements. In the case of a part time or consultant veterinarian, these formal

arrangements must include a written program of veterinary care and regularly scheduled visits to the premises.


2.40(b)(2)               Direct               Repeat
Attending veterinarian and adequate veterinary care (dealers and exhibitors).
One of the ferrets has a large submandibular swelling. The swelling encompasses the entire width of the neck. The facility

representative states that they noticed the swelling had started a day ago and they have not yet contacted a veterinarian

regarding this problem. There is no mention of this ferret in the daily medical logs.



During this visit one of the white racoons appeared lethargic with an overall unthrifty appearance. Although racoons are

nocturnal animals, this animal did not appear as bright and alert as the other racoons in the enclosure. He also seemed




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to be isolating himself from the other animals which is not normal for racoons. There were no records indicating that he

has been seen by a veterinarian or that the facility representative noticed there was a problem.



An old red fox previously diagnosed with chronic medical conditions continues to receive no veterinary care for these

conditions. This animal was examined by a veterinarian on Feb 20, 2021. During that visit the veterinarian tentatively

diagnosed prostate cancer and arthritis in the front legs. Instructions to the facility representatives were to “monitor

mobility on daily observation report, if improved on Metacam notify veterinarian and may continue to use long term.

Monitor for trouble urinating and defecating daily.” None of this has been documented in the daily observations. The

daily record for this animal states “will allow him to pass away peacefully when it’s his time”.



The bush baby has an area of hair loss on his right side that has exposed reddened skin. The facility representative has

documented this problem along with a decrease in the animal’s energy in the daily medical log and has been applying

Vaseline and coconut oil to the area of hair loss. According to the facilities' former veterinarian, she was never notified

about the bush baby having hair loss or acting lethargic.



The bobcat named Paulina has areas of hair loss on both sides of her neck about 1 by 2 inches in size. These areas of

hair loss were also present during the May 17-18, 2021 visit to the property. There is now also a small area of hair loss

by the ear with exposed reddened skin. The facility representative states that the hair loss is from breeding (she is housed

with a male). The daily medical log states that they have been using “wound coat spray” on her skin. There were no

records indicating a veterinarian had been consulted about this animal.




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The male bobcat named Paul appeared thin and lethargic. He has noticeably lost weight since he was observed on May

18, 2021. There were no records indicating that he has been seen by a veterinarian or that the facility representative

noticed there was a problem.



Failure to provide adequate medical care can result in health issues that cause ongoing pain and suffering. The facility

representative must ensure that all animals receive adequate veterinary approved nutritional and medical care at all times

as directed by a veterinarian which includes appropriate methods to prevent, control, diagnose and treat diseases and

injuries.


2.75(b)(1)                                    Repeat
Records: Dealers and exhibitors.
Three sheep, 1 goat, and 1 alpaca documented on the inventory at the previous inspection were not on the premises at

the time of this inspection. According to the facility representative, they were sold to a local farmer. There are no

disposition records available for these 5 animals.

At the time of this inspection the facility had 2 baby white racoons. There were no acquisition records for these baby

racoons indicating whether they were born on the premises or acquired somewhere else.

Missing acquisition and disposition records documented on previous inspection reports continue to be unavailable for

review.

Acquisition and disposition records, including for domestic farm type animals, are necessary to be able to accurately track

animals being used in regulated activities to ensure their legal acquisition, proper care, and humane transportation.




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Animals transferred to or acquired from other licensees must have disposition and acquisition records containing all

information required by the Animal Welfare Act Regulations available for inspection. This requirement applies to all

regulated animals purchased or otherwise acquired, owned, held, leased or otherwise in possession of or under control of

the licensee, and all regulated animals transported, sold, euthanized, or otherwise disposed of by that dealer or exhibitor.

The record shall include any offspring born of any animal while in his or her possession or under his or her control.


3.81                                          Repeat
Environment enhancement to promote psychological well-being.
The environmental enhancement plan that was provided during the inspection has not been approved by an attending

veterinarian as there is no attending veterinarian for the facility. An inadequate plan of enrichment for nonhuman primates

can result in animals with high levels of stress and/or boredom that affects both their health and behavior. The facility

representative must develop, document, and follow an appropriate plan for the environmental enhancement adequate to

promote the physiological wellbeing of nonhuman primates. The Nonhuman Primate Enrichment plan must be in

accordance with professionally accepted standards and directed by the attending veterinarian.


3.82(a)
Feeding.
The food receptacle for both macaques contained what appeared to be dog kibble. The kibble was contaminated with

many flies. The facility representative stated that they were out of “monkey biscuits” but that they had been ordered. Dog

food is not an appropriate diet for nonhuman primates. The presence of flies indicate contamination and decreases

palatability. The facility must ensure that diet for the nonhuman primates be appropriate for the species and be clean,

wholesome, and palatable to the animals. To be corrected by: June 11, 2021


3.83
Watering.




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Potable water must be provided in sufficient quantity to every non-human primate housed at the facility.

The water bottle provided to the bush baby was empty at the start of the inspection. When filled, the bush baby drank

immediately and eagerly for at least 30 seconds.

The water bottle for one of the marmosets was empty at the time of this inspection.

The water available for one of the macaques did not appear to have been cleaned recently. It was a dirty brown color

with pieces of orange peel floating in it.

Lack of potable water can result in dehydration and exacerbation of other medical problems. The facility must ensure that

potable water be accessible to the animals as often as necessary for the health and comfort of the animals and that all

water receptacles be kept clean and sanitary.

To be corrected by: June 11, 2021


3.84(a)
Cleaning, sanitization, housekeeping, and pest control.
The outside yards of both macaque enclosures needed to be cleaned. Old produce on the ground and in the food

containers appeared to have been there for several days. The old food was covered in flies.



Enclosures with dirt floors must be spot-cleaned with sufficient frequency to ensure all animals the freedom to avoid

contact with excreta, or as often as necessary to reduce disease hazards, insects, pests, and odors. The excessive

number of flies covering the old produce indicates that the enclosures are not being cleaned as often as necessary. To be

corrected by: June 11, 2021


3.84(c)
Cleaning, sanitization, housekeeping, and pest control.




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There is a bucket with old trash and very dirty water sitting right outside the macaque outdoor cages. This is an attractant

for flies, mosquitos, and other pests as well as a breeding ground for bacteria and disease. The facility must ensure that

buildings and grounds where housing facilities are located are kept clean so as to facilitate husbandry practices and to

reduce or eliminate breeding and living areas for rodents, pests and vermin.

To be corrected by: June 11, 2021


3.84(d)
Cleaning, sanitization, housekeeping, and pest control.
Excessive flies were seen in and around the macaque enclosures. The pest control plan in place is to use bags of water

hung in the areas of the animals to control the flies. This is a non-traditional plan and as of the time of inspection, does not

appear to be effective. Flies provide an annoyance to the animals and can cause skin lesions. The facility must ensure

that a safe and effective program for the control of insects, ectoparasites, avian, and mammalian pest is established and

maintained.

To be corrected by: June 11, 2021


3.125(a)                                       Repeat
Facilities, general.
The dirt under the shelter structure in the fisher enclosure has been dug out, exposing a metal grate. There is a gap

between the metal grate and the dirt below and the fisher must sit on the metal grate in order to use the shelter. The gaps

in the metal grate could cause entrapment or injury to the animal.



There were nine adult raccoons on the last inspection inventory. During this inspection, there were five adult raccoons

observed (plus 2 new baby racoons). When asked about the difference in numbers on the inventory, the facility

representative stated that they have had to reinforce the enclosure walls due to raccoon escape. Animals that escape




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their enclosures are no longer protected and cannot be cared for.



The porcupine pair have been chewing on the plywood floor of their enclosure and the plastic of their house. Neither of

these is appropriate for a porcupine to be chewing and ingesting. These materials can cause intestinal impactions or

other health concerns.



The facility representative must ensure all housing facilities must be structurally sound and maintained in good repair to

protect the animals from injury and to contain the animals.


3.129(a)                                      Repeat
Feeding.
There was a limited amount of fresh produce and no food appropriate for the non-domestic cats on the premises at the

time of this inspection. There was dry bear, cat, and dog kibble. The facility representative stated that they planned to buy

fresh food later that day and that the day of the inspection was a “fasting day” for the non-domestic cats.



This is concerning considering the progressively decreasing body conditions seen in the bobcats, wolves, foxes, and the

Canadian Lynx. The facility must ensure that food be wholesome, palatable, and free from contamination and of sufficient

quantity and nutritive value to maintain all animals in good health. The diet must be prepared with consideration for the

age, species, condition, size, and type of animal.


3.130
Watering.
The water tank for the camel contains brown water. The water is dirty enough that the bottom of the tank cannot be

evaluated for sanitation.




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Lack of potable water can result in dehydration and exacerbation of other medical problems. The facility must ensure that

potable water be accessible to the animals as often as necessary for the health and comfort of the animals and that all

water receptacles be kept clean and sanitary.

To be corrected by: June 11, 2021


3.131                                          Repeat
Sanitation.
Excessive flies were seen throughout the facility, both on the animals and in the environment. Animals were seen

“flicking” their ears and heads in an effort to remove the flies. The pest control plan in place is to use bags of water hung

in the areas of the animals to control the flies. This is a non-traditional plan and as of the time of inspection, does not

appear to be effective. Flies provide an annoyance to the animals and can cause skin lesions and tissue damage. The

facility must ensure that a safe and effective program for the control of insects, ectoparasites, and avian and mammalian

pest is established and maintained.

To be corrected by: Close of business on delivery day.


3.131(c)                                       Repeat
Sanitation.
There is discarded animal food and other trash on the property and around the animal areas. Some of the discarded food

has been swept out of the animal enclosures and has been left near the animal areas. This is providing an environment

that encourages the proliferation of flies. Flies are an annoyance to the animals and can cause skin lesions and tissue

damage. The facility must ensure that all buildings and grounds are kept clean to facilitate good husbandry practices and

to protect the health of the animals.

To be corrected by: Close of business on delivery day.




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This inspection was conducted with one of the facility owners.



Additional Inspectors:

MARGARET SHAVER, VETERINARY MEDICAL OFFICEREnd Section




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                                            Species Inspected
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  332646    73-C-0230       002       Jeffrey Lowe- 002                                             02-JUN-2021



Count              Scientific Name                                              Common Name
000003             Hystrix cristata                                             AFRICAN CRESTED PORCUPINE
000011             Lemur catta                                                  RING-TAILED LEMUR
                                                                                RED FOX (INCLUDES SILVER FOX
000002             Vulpes vulpes
                                                                                & CROSS FOX)
000001             Vulpes lagopus                                               ARCTIC FOX
000006             Lynx rufus                                                   BOBCAT
000001             Camelus dromedarius domestic                                 DOMESTIC DROMEDARY CAMEL
000005             Caracal caracal                                              CARACAL
000001             Canis latrans                                                COYOTE
000001             Lynx canadensis                                              CANADIAN LYNX
000001             Potos flavus                                                 KINKAJOU
000004             Mustela putorius furo                                        DOMESTIC FERRET
                                                                                BARE-TAILED WOOLLY
000001             Caluromys philander
                                                                                OPOSSUM
000002             Atelerix albiventris                                         FOUR-TOED HEDGEHOG
000007             Procyon lotor                                                RACCOON
000001             Saguinus midas                                               RED-HANDED TAMARIN
                                                                                GRAY WOLF / GREY WOLF /
000003             Canis lupus
                                                                                TIMBER WOLF
000003             Callithrix jacchus                                           COMMON MARMOSET
000001             Galago senegalensis                                          NORTHERN LESSER BUSHBABY
000001             Canis aureus                                                 GOLDEN JACKAL
000001             Macaca mulatta                                               RHESUS MACAQUE
000001             Macaca nemestrina                                            PIG-TAILED MACAQUE
000001             Otocyon megalotis                                            BAT-EARED FOX
000001             Martes pennanti                                              FISHER
000002             Canis lupus familiaris                                       DOG PUPPY
000001             Canis lupus familiaris                                       DOG ADULT

000062             Total




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